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                       PDFIN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    CENTER FOR AUTISM AND RELATED                                   )     Case No. 23-90709 (DRJ)
                            1
    DISORDERS, LLC, et al.,                                         )
                                                                    )
                              Debtors.                              )     (Joint Administration Requested)
                                                                    )     (Emergency Hearing Requested)

             DEBTORS’ WITNESS AND EXHIBIT LIST FOR HEARING SCHEDULED
               FOR JUNE 12, 2023, AT 3:30 P.M. (PREVAILING CENTRAL TIME)

             The above-captioned debtors and debtors in possession (the “Debtors”) file their

Witness and Exhibit List for the hearing to be held on June 12, 2023, at 3:30 p.m.

(prevailing Central Time) (the “Hearing”) as follows:

                                                   WITNESSES


             The Debtors may call the following witnesses at the Hearing:

             1.     Steven Shenker, Chief Restructuring Officer of Center for Autism and Related
                    Disorders, LLC;

             2.     Joseph Greenwood, Partner of Livingstone Partners LLC;

             3.     Sheryl Betance, Senior Managing Director of Stretto Inc.;

             4.     Any witness listed or called by any other party;

             5.     Rebuttal witnesses as necessary; and

             6.     The Debtors reserve the right to cross-examine any witness called by any other
                    party.


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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Center for Autism and Related Disorders, LLC (1512); CARD Holdings, LLC (1453); CARD
      Intermediate Holdings I, LLC (N/A); CARD Intermediate Holdings II, LLC (3953); and SKILLS Global, LLC
      (4192). The location of the Debtors’ principal place of business is 9089 S Pecos Rd., Suite 3600, Henderson,
      Nevada 89074.
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EXHIBIT                                  EXHIBITS




                                                              OBJECT
                                                                                     DISPOSITION




                                                                       ADMIT
                                                      OFFER
                                               MARK




                                                                               W/D
                   DESCRIPTION                                                          AFTER
                                                                                      HEARING


 1.        Declaration of Steven Shenker,
           Chief Restructuring Officer of
           Card Holdings, LLC, in Support of
           Chapter 11 Petitions, First Day
           Motions,    and   Dip Motion
           [Docket No. 21].
 2.
           Declaration of Joseph Greenwood
           of Livingstone Partners LLC in
           Support     of    the    Debtors’
           Emergency Motion for Entry of
           Interim    and    Final    Orders
           (I) Authorizing the Debtors to
           Obtain Postpetition Financing
           Pursuant to Section 364 of the
           Bankruptcy Code, (II) Authorizing
           the Use of Cash Collateral
           Pursuant to Section 363 of the
           Bankruptcy Code, (III) Granting
           Adequate Protection to the
           Prepetition First Lien Secured
           Parties Pursuant to Sections 361,
           362, 363, and 364 of the
           Bankruptcy Code, (IV) Granting
           Liens and Superpriority Claims,
           (V) Modifying the Automatic Stay,
           (VI) Scheduling A Final Hearing,
           and (VII) Granting Related Relief
           [Docket No. 20].
 3.        Budget [Docket       No.    19-1,
           Schedule 2].




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EXHIBIT




                                                                   OBJECT
                                                                                          DISPOSITION




                                                                            ADMIT
                                                           OFFER
                                                    MARK




                                                                                    W/D
                      DESCRIPTION                                                            AFTER
                                                                                           HEARING


 4.        Declaration Of Sheryl Betance In
           Support Of Debtors’ Emergency Ex
           Parte Application For Entry Of An
           Order Authorizing The Employment
           And Retention Of Stretto, Inc., As
           Claims, Noticing, And Solicitation
           Agent [Docket No. 4, Exhibit B].
             Any document or pleading filed in
             the above-captioned main cases
             Any exhibit necessary for
             impeachment and/or rebuttal
             purposes
             Any exhibit identified or offered
             by any other party

                                   RESERVATION OF RIGHTS

          The Debtors reserve the right to call or to introduce one or more, or none, of the witnesses

and exhibits listed above, and further reserve the right to supplement this list prior to the Hearing.




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Houston, Texas
June 12, 2023

/s/ Matthew D. Cavenaugh
JACKSON WALKER LLP                             KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)     KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)        Christopher T. Greco, P.C. (pro hac vice pending)
J. Machir Stull (TX Bar No. 24070697)          Allyson B. Smith (pro hac vice pending)
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Telephone:       (713) 752-4200                Facsimile:      (212) 446-4900
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                 mstull@jw.com
                 vargeroplos@jw.com

Proposed Co-Counsel to the Debtors             Proposed Co-Counsel to the Debtors
and Debtors-in-Possession                      and Debtors-in-Possession
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                                     Certificate of Service

        I certify that on June 12, 2023, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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